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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Yury Grenadyor
                          Plaintiff,
v.                                            Case No.: 1:21−cv−04515
                                              Honorable Sharon Johnson Coleman
7−Eleven, Inc.
                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, July 15, 2022:


       MINUTE entry before the Honorable Susan E. Cox: Entered in Error Modified
on 7/15/2022 (gw, ).




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